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8
                             UNITED STATES DISTRICT COURT
9
                           CENTRAL DISTRICT OF CALIFORNIA
10
                                      SOUTHERN DIVISION
11
12   IN-N-OUT BURGERS, a California                       Case No. 8:17-cv-1474-JVS-DFM
     corporation,
13                                                        PLAINTIFF AND
                         Plaintiff,                       COUNTERDEFENDANT IN-N-
14                                                        OUT BURGERS’ MEMORANDUM
              vs.                                         OF POINTS AND AUTHORITIES
15                                                        IN SUPPORT OF MOTION FOR
     SMASHBURGER IP HOLDER LLC, a                         PARTIAL SUMMARY
16   Delaware limited liability company; and              JUDGMENT RE
     SMASHBURGER FRANCHISING LLC,                         RESPONSIBILITY OF NAMED
17   a Delaware limited liability company,                DEFENDANTS FOR USE OF
                                                          MARKS, SLOGANS, AND
18                       Defendants.                      ADVERTISING MATERIALS
19                                                        [PUBLICLY FILED VERSION]
20   SMASHBURGER IP HOLDER LLC,                           Date:      April 8, 2019
     and SMASHBURGER FRANCHISING                          Time:      1:30 p.m.
21   LLC,                                                 Courtroom: 10C
22                       Counterclaimants,                Judge: Hon. James V. Selna
23            vs.                                         Fact Discovery Cut-Off: Apr. 19, 2019
                                                          Pre-Trial Conference: Sept. 9, 2019
24   IN-N-OUT BURGERS,                                    Trial Date:           Sept. 24, 2019
25                       Counterdefendant.
26
27
28

                                       IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
                                                                          FOR PARTIAL SUMMARY JUDGMENT
     4812-4163-7001.v1                                                          Case No. 8:17-cv-1474-JLS-DFM
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1                                       INTRODUCTION
2             By this motion, Plaintiff and Counterdefendant In-N-Out Burgers (“In-N-Out”)
3    respectfully asks the Court to resolve an issue that it intentionally left open in its
4    February 6, 2019 Order [Dkt. 175] granting in part and denying in part In-N-Out’s
5    motion for partial summary judgment on its false advertising claim against Defendants
6    and Counterclaimants Smashburger IP Holder LLC (“Smashburger IP”) and
7    Smashburger Franchising LLC (“Smashburger Franchising”) (collectively,
8    “Defendants”) – whether Defendants are responsible for use of the TRIPLE DOUBLE
9    marks and the “Double the Beef” slogans and advertising materials in connection with
10   the sale of Triple Double burgers at Smashburger company and franchise restaurants.
11   Defendants have previously contended that they cannot be held liable because they do
12   not own any restaurants, sell any hamburgers, or purchase or run any advertisements.
13   For several independent reasons, Defendants are wrong, and In-N-Out is therefore
14   entitled to partial summary judgment as to their responsibility for use of the TRIPLE
15   DOUBLE marks and the “Double the Beef” slogans.1
16            First, as the owner of the TRIPLE DOUBLE Marks and the “Double the Beef”
17   slogans and advertising materials, Smashburger IP is responsible for the use of those
18   marks, slogans, and materials. Second, because of Smashburger IP’s involvement in
19   the creation of the TRIPLE DOUBLE Marks and the “Double the Beef” slogans and
20   advertising materials, it is responsible for the use of those marks, slogans, and
21   materials.
22            Third, because both Smashburger IP and Smashburger Franchising have made
23   use of the TRIPLE DOUBLE marks and the “Double the Beef” slogans and
24   advertising materials – Smashburger IP through Smashburger’s website and uses by
25
26   1
       In-N-Out couches this motion in terms of responsibility, rather than liability, to make
27   it clear that it is not seeking partial summary judgment as to all of the elements of
     liability, just a ruling that Smashburger IP and Smashburger Franchising will be liable
28   for the alleged trademark infringement/unfair competition and false advertising if In-
     N-Out establishes the other elements of such claims.
                                      IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
                                            FOR LEAVE TO FILE SECOND AMENDED AND SUPPLEMENTAL COMPLAINT
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1    other entities inuring to its benefit, and Smashburger Franchising through its direct or
2    indirect control over marketing programs for franchisees – both Smashburger IP and
3    Smashburger Franchising are responsible for the use of those marks, slogans, and
4    materials. Finally, because (1) Smashburger IP has directly or indirectly authorized
5    the use of the Triple Double marks and the “Double the Beef” slogans and advertising
6    materials by Smashburger company and franchise restaurants and (2) Smashburger
7    Franchising has directly authorized the use of such marks, slogans, and materials by
8    Smashburger franchise restaurants, both Smashburger IP and Smashburger
9    Franchising are responsible for the use of those marks, slogans, and materials.
10              For each of these independent reasons, any one of which is sufficient to
11   demonstrate the lack of a genuine issue of material fact as to the responsibility of
12   Smashburger IP and Smashburger Franchising for the use of the Triple Double marks
13   and the “Double the Beef” slogans and advertising materials, In-N-Out respectfully
14   asks the Court to grant this motion for partial summary judgment.
15                                  FACTUAL BACKGROUND
16            A.         Smashburger IP’s Ownership of the TRIPLE DOUBLE Marks and
17                       the “Double the Beef” Slogans and Advertising Materials.

18            Smashburger IP is the owner of the applications to register the marks TRIPLE
19   DOUBLE and SMASHBURGER TRIPLE DOUBLE in International Class 30 for
20   “[s]andwiches” and in International Class 43 for “[c]arry-out restaurants; restaurant
21   services; self-service restaurants,” filed with the United States Patent & Trademark
22   Office (the “USPTO”) on November 14, 2016. SS 1.
23            Smashburger IP is also the owner of trademark registrations in International
24   Class 43 for two slogans: (1) “SMASH.SIZZLE.SAVOR.,” registered by the USPTO
25   on May 20, 2008; and (2) “SMASHED FRESH. SERVED DELICIOUS.,” registered
26   by the USPTO on September 25, 2012. SS 2. Pursuant to a May 16, 2013 Trademark
27   Assignment filed with the USPTO, Smashburger IP was assigned the trademarks
28
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                                        IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
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1    associated with Smashburger’s business that had previously been held by Icon Burger
2    Development Company, LLC. SS 3.
3             Admissions re Ownership of Marks. In-N-Out’s Request for Admission No.
4    163 to Smashburger IP and Smashburger Franchising asked, “Admit that
5    SMASHBURGER IP owns the intellectual property rights in and to the TRIPLE
6    DOUBLE MARKS.”2 SS 4. In response to Request for Admission No. 163,
7    Smashburger IP and Smashburger Franchising asserted objections, and then
8    “admit[ted] that with regard to trademark registrations, Smashburger IP owns the
9    registration for the mark SMASH. To the extent that there are any intellectual
10   property rights associated with Triple Double burger products, they also would be
11   held by Smashburger IP.” Id.
12            Admissions re Ownership of Slogans. In-N-Out’s Request for Admission No.
13   164 to Smashburger IP and Smashburger Franchising asked, “Admit that
14   SMASHBURGER IP owns the intellectual property rights in and to the DOUBLE
15   THE BEEF SLOGANS.”3 SS 5. In response to Request for Admission No. 164,
16   Smashburger IP and Smashburger Franchising asserted objections, and then
17   “admit[ted] that with regard to trademark registrations, Smashburger IP owns the
18   registration for the mark SMASH. To the extent that there are any intellectual
19   property rights in the slogans, they also would be held by Smashburger IP.” Id.
20   Smashburger IP provided the same substantive response to In-N-Out’s Interrogatory
21   No. 11, which asked, “[i]dentify by name, rights held, and source of rights, each
22   Smashburger entity that holds any rights in the DOUBLE THE BEEF SLOGANS.”
23   SS 6.
24
25   2
       The term “TRIPLE DOUBLE MARKS” was defined to “refer[] to the marks
     ‘comprising ‘Triple Double’ used by DEFENDANTS in connection with their
26   products or services, including, but not limited to, ‘Triple Double,’ ‘Smashburger
     Triple Double,’ ‘Bacon Triple Double,’ and ‘Pub Triple Double.’” SS 4.
27   3
       The term “DOUBLE THE BEEF SLOGAN” was defined to “refer[] to any slogan
28   that that includes the phrase ‘Double the Beef’ . . . or denotes two times the beef . . . ,”
     providing examples of such slogans. SS 5.
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                                      IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
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1             Admissions re Ownership of Advertising Materials. In-N-Out’s Request for
2    Admission No. 165 to Smashburger IP and Smashburger Franchising asked, “Admit
3    that SMASHBURGER IP owns the intellectual property rights in and to the DOUBLE
4    THE BEEF MATERIALS.”4 SS 7. In response to Request for Admission No. 165,
5    Smashburger IP and Smashburger Franchising asserted objections, and then
6    “admit[ted] that with regard to trademark registrations, Smashburger IP owns the
7    registration for the mark SMASH. To the extent that there are any intellectual
8    property rights in the materials, they also would be held by Smashburger IP.” Id.
9    Smashburger IP provided the same substantive response to In-N-Out’s Interrogatory
10   No. 12, which asked, “[i]dentify by name, rights held, and source of rights, each
11   Smashburger entity that holds any rights in the DOUBLE THE BEEF MATERIALS.”
12   SS 8.
13            B.         Creation by Smashburger IP, and Use by Smashburger IP and
                         Smashburger Franchising, of the TRIPLE DOUBLE Marks and the
14                       “Double the Beef” Slogans and Advertising Materials.
15            Tom Ryan is CEO of Smashburger IP and Smashburger Franchising. SS 9.
16
17                        SS 10.
18                                                   SS 11.
19                                                                          SS 12. Smashburger
20   released a July 11, 2017 press release in which Mr. Ryan stated that the Triple Double
21   burger “provid[es] three times the cheese and double the beef in every bite.” SS 13.
22            Smashburger’s website (https://smashburger.com/menu) bears the copyright
23   notice “© 2018 Smashburger IP Holder LLC. All rights reserved. Smashburger® and
24   related trademarks are the property of Smashburger IP Holder LLC.” SS 14.
25
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27   4
      The term “DOUBLE THE BEEF MATERIALS” was defined to “refer[] to any
28   advertising, marketing, or promotional materials that depict any DOUBLE THE
     BEEF SLOGAN.” SS 7.
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                                        IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
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1    Smashburger’s website displays the TRIPLE DOUBLE mark and “Double the Beef”
2    slogans. SS 15.
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8                                           SS 16.
9             C.         Smashburger IP’s and Smashburger Franchising’s Authorization of
                         Use of the TRIPLE DOUBLE Marks and the “Double the Beef”
10                       Slogans and Advertising Materials.
11            On May 15, 2013, Smashburger IP entered into two license agreements: (1) an
12   Intellectual Property License Agreement (the “Smashburger Finance License
13   Agreement”) with Smashburger Finance LLC (“Smashburger Finance”); and (2) an
14   Intellectual Property and Products Designation License Agreement (the “Smashburger
15   Franchise License Agreement”) with Smashburger Franchising. SS 17.
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23                         SS 18.
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                                         IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
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5                        SS 20.
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12                  SS 21.
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17                                                            SS 22.
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21                                                     SS 23.
22            In-N-Out’s Requests for Admission Nos. 166, 168, and 170 to Smashburger IP
23   and Smashburger Franchising asked, “Admit that SMASHBURGER COMPANY
24   RESTAURANTS have rights to use [the TRIPLE DOUBLE MARKS, the DOUBLE
25   THE BEEF SLOGANS, and the DOUBLE THE BEEF MATERIALS, respectively]
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                                     IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
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1    through a license from Smashburger IP.”5 SS 24. In response to Requests for
2    Admission Nos. 166, 168, and 170, Smashburger IP and Smashburger Franchising
3    asserted objections, and then “admit[ted] that to the extent that there are any
4    intellectual property rights associated with [the Triple Double marks, the slogans, and
5    the materials, respectively], they are licensed from Smashburger IP to the company-
6    owned stores.” Id.
7             In-N-Out’s Requests for Admission Nos. 167, 169, and 171 to Smashburger IP
8    and Smashburger Franchising asked, “Admit that SMASHBURGER FRANCHISE
9    RESTAURANTS have rights to use [the TRIPLE DOUBLE MARKS, the DOUBLE
10   THE BEEF SLOGANS, and the DOUBLE THE BEEF MATERIALS, respectively]
11   through a license from SMASHBURGER FRANCHISING.”6 SS 25. In response to
12   Requests for Admission Nos. 167, 169, and 171, Smashburger IP and Smashburger
13   Franchising asserted objections, and then “admit[ted] that to the extent that there are
14   any intellectual property rights associated with [the Triple Double marks, the slogans,
15   and the materials, respectively], they are licensed from Smashburger IP to
16   Smashburger Franchising, LLC which, in turn, licenses them to Smashburger
17   franchises.” Id.
18            D.         Smashburger IP’s and Smashburger Franchising’s Control Over Use
                         of the TRIPLE DOUBLE Marks and the “Double the Beef” Slogans
19                       and Advertising Materials.
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23                                                     SS 26.
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25   5
       The term “SMASHBURGER COMPANY RESTAURANT” was defined to “refer[]
     to any Smashburger-branded restaurant in the United States that was or is owned or
26   operated, directly or indirectly, by any direct or indirect subsidiary of Icon Burger
     Acquisition LLC, including, but not limited to” 46 named entities. SS 24.
27   6
       The term “SMASHBURGER FRANCHISE RESTAURANT” was defined to
28   “refer[] to any Smashburger-branded restaurant in the United States that was or is
     owned or operated by any franchisee of Smashburger Franchising LLC.” SS 25.
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                                         IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
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4                                                                    SS 28.
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11                                        SS 29.
12            In-N-Out’s Requests for Admission Nos. 172-77 to Smashburger IP and
13   Smashburger Franchising asked, “Admit that [SMASHBURGER IP or
14   SMASHBURGER FRANCHISING, respectively] has the right to control use of [the
15   TRIPLE DOUBLE MARKS, the DOUBLE THE BEEF SLOGANS, and the
16   DOUBLE THE BEEF MATERIALS, respectively] by [SMASHBURGER
17   COMPANY RESTAURANTS or SMASHBURGER FRANCHISE
18   RESTAURANTS, respectively].” SS 30. In response to Requests for Admission
19   Nos. 172-77, Smashburger IP and Smashburger Franchising asserted objections, and
20   then “admit[ted] to the extent that the license agreement, which has been produced to
21   Plaintiff in this action, contains certain limitations and terms that may be invoked to
22   restrict use of the licensed IP assets.” Id.
23                                    PROCEDURAL HISTORY
24            A.         The Pleadings.
25            In-N-Out filed its original Complaint [Dkt. 1] on August 28, 2017 and its First
26   Amended Complaint [Dkt. 15] on October 20, 2017. In a September 20, 2018 Order
27   [Dkt. 115], the Court granted In-N-Out’s motion for leave to file a Second Amended
28   and Supplemental Complaint (the “SAC”) [Dkt. 117]. The SAC, filed on September
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                                            IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
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1    21, 2018, which is In-N-Out’s currently operative pleading, names as defendants
2    Smashburger IP and Smashburger Franchising.
3             The SAC alleges eight claims for relief: (1) the First Claim for Relief for
4    Federal Trademark Infringement (15 U.S.C. § 1114); (2) the Second Claim for Relief
5    for Federal Unfair Competition (15 U.S.C. § 1125(a)); (3) the Third Claim for Relief
6    for Federal False Advertising (15 U.S.C. § 1125(a)); (4) the Fourth Claim for Relief
7    for Federal Trademark Dilution (15 U.S.C. § 1125(c)); (5) the Fifth Claim for Relief
8    for California Statutory Trademark Infringement (Cal. Bus. & Prof. Code § 14250);
9    (6) the Sixth Claim for Relief for California Statutory Trademark Dilution (Cal. Bus.
10   & Prof. Code § 14247); (7) the Seventh Claim for Unfair Competition Under the
11   California Common Law; and (8) the Eighth Claim for Relief for California Statutory
12   Unfair Competition (Cal. Bus. & Prof. Code §§ 17200 et seq.).
13            With the exception of the Third Claim for Relief, each claim for relief is based
14   upon the allegations that: (1) In-N-Out owns a family of marks, which share a
15   common theme of a number followed by a number, comprised of the marks
16   DOUBLE-DOUBLE, TRIPLE TRIPLE, QUAD QUAD, 2 X 2, 3 X 3, and 4 X 4,
17   each of which is registered federally and with the state of California, see SAC, ¶¶ 11-
18   16; and (2) Defendants have committed trademark infringement, unfair competition,
19   and trademark dilution by using the marks TRIPLE DOUBLE, SMASHBURGER
20   TRIPLE DOUBLE, BACON TRIPLE DOUBLE, and PUB TRIPLE DOUBLE
21   (collectively, the “TRIPLE DOUBLE Marks”) in connection with burgers sold at
22   Smashburger company or franchised restaurants. See id., ¶¶ 34-50, 64-78, 88-117.
23            The Third Claim for Relief is based upon Defendants’ use of “Double the
24   Beef” slogans, such as “Triple the Cheese, Double the Beef in Every Bite,” “Triple
25   the Cheese, Double the Beef, Triple the Options,” and “Classic SmashTM Beef Build
26   with triple the cheese & double beef in every bite.” See id., ¶¶ 1, 51-63, 79-87. The
27   SAC alleges that these “Double the Beef” slogans are false and misleading because
28
                                                   -9-
                                       IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
                                                                         FOR PARTIAL SUMMARY JUDGMENT
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1    the Triple Double burgers contain the same amount of beef as Defendants’ regular-
2    sized single burgers, not “double” or twice the amount of beef. See id.
3             B.         The Order on In-N-Out’s First Motion for Partial Summary
4                        Judgment.

5             On February 6, 2019, the Court filed an Order [Dkt. 175] granting in part and

6    denying in part In-N-Out’s motion for partial summary judgment [Dkt. 145] as to the

7    elements of its false advertising claim. The Court found that “there is no genuine

8    dispute of fact as to the literal falsity of Smashburger’s advertisements using the

9    slogan ‘Classic SmashTM Beef build with triple the cheese & double the beef in every

10   bite,’” but “there is a genuine dispute of fact as to the falsity of Smashburger’s ‘double

11   the beef’ advertisements which contain no reference to the Classic Smash product.”

12   Dkt. 175 at 6-12. The Court held that “the ‘double the beef’ slogan referencing the

13   Classic Smash is deceptive as a matter of law,” and that “there is no genuine dispute

14   of fact regarding materiality.” Id. at 12-14. The Court next found that “there is no

15   genuine issue of fact that Smashburger’s false advertising entered interstate

16   commerce, while declining to reach the issue of whether the named Smashburger

17   Defendants in this action were the entities which caused the false advertising to enter

18   interstate commerce.” Id. at 14-15. Finally, the Court found that “there is a genuine

19   issue of material fact for the jury as to whether In-N-Out and Smashburger are direct

20   competitors,” and it therefore denied “In-N-Out’s motion for summary judgment as to

21   the injury element of its false advertising claim.” Id. at 15-16.

22            In opposing In-N-Out’s motion for partial summary judgment, Defendants

23   attempted to defeat the motion as to the interstate commerce element by arguing an

24   issue on which In-N-Out had not sought summary judgment,7 asserting that:

25
26   7
      In-N-Out’s motion asked the Court to find that Smashburger’s false advertising
27   entered interstate commerce, without asking the Court to find that the named
     Smashburger Defendants were responsible for the advertising reaching interstate
28   commerce. See Dkt. 145 at 2:21-22 (notice of motion); Dkt. 145-1 at 2:9-10, 19:16 –
     20:3 (memo of points & authorities).
                                             -10-
                                         IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
                                                                           FOR PARTIAL SUMMARY JUDGMENT
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1                    Smashburger IP Holder is a holding company for various
              intellectual property, which it then licenses to other Smashburger entities.
2             Declaration of Ty Lufman in support of opposition to motion for leave to
              amend, ECF No. 82-2, at ¶ 3. Smashburger Franchising LLC enters into
3             franchise agreements with Smashburger franchisees. Id. ¶ 4. These
              defendants do not own any restaurants, do not sell any hamburgers, and
4             do not purchase or run any advertisements. Id., at ¶ 2. Thus,
              Smashburger IP Holder and Smashburger Franchising LLC are not
5             responsible for distributing or publishing any of the “double the beef”-
              related claims and cannot be liable for false advertising as a matter of
6             law.
7    Dkt. 156 at 20:3-11.
8                                       LEGAL STANDARD
9             Under Fed. R. Civ. P. 56(a), “[a] party may move for summary judgment,
10   identifying each claim or defense – or the part of each claim or defense – on which
11   summary judgment is sought.” Id. Summary judgment is required “if the movant
12   shows that there is no genuine issue as to any material fact and the movant is entitled
13   to judgment as a matter of law.” Id. The non-movant must identify specific facts that
14   show a genuine issue of material fact for trial, i.e., that the facts could allow a
15   reasonable jury to return a verdict for the non-movant. See Anderson v. Liberty
16   Lobby, Inc., 477 U.S. 242, 248 (1986).
17            “The party moving for summary judgment bears the initial burden of
18   demonstrating the absence of a genuine issue of fact for trial.” Devereaux v. Abbey,
19   263 F.3d 1070, 1076 (9th Cir. 2001) (citing Celotex Corp. v. Catrett, 477 U.S. 317,
20   323 (1986)). If “a moving party carries its burden of production, the nonmoving party
21   must produce evidence to support its claim or defense.” Nissan Fire & Marine Ins.
22   Co. v. Fritz Cos., 210 F.3d 1099, 1103 (9th Cir. 2000). “If the nonmoving party fails
23   to produce enough evidence to create a genuine issue of material fact, the moving
24   party wins the motion for summary judgment.” Id. (citing Celotex Corp., 477 U.S. at
25   322).
26
27
28
                                                   -11-
                                       IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
                                                                         FOR PARTIAL SUMMARY JUDGMENT
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1                                          ARGUMENT
2    I.       THE COURT SHOULD GRANT PARTIAL SUMMARY JUDGMENT AS
              TO THE RESPONSIBILITY OF SMASHBURGER IP AND
3             SMASHBURGER FRANCHISING FOR USE OF THE TRIPLE
4             DOUBLE MARKS AND THE “DOUBLE THE BEEF” SLOGANS AND
              ADVERTISING MATERIALS.
5
              Not surprisingly, each of the claims asserted by In-N-Out requires some
6
     showing that the Defendants were involved in use of the alleged false advertising or
7
     infringing marks. On the Third Claim for Relief for False Advertising, In-N-Out must
8
     show that “the defendant[s] caused [the] false statement to enter interstate commerce.”
9
     Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997). On the
10
     First Claim for Relief for Federal Trademark Infringement, the Second Claim for
11
     Relief for Federal Unfair Competition, and the Fourth Claim for Relief for Federal
12
     Trademark Dilution, In-N-Out must show that the named defendants are “persons”
13
     “who use[d] in commerce” the TRIPLE DOUBLE marks. 15 U.S.C. §§
14
     1114(a)(1)(A), 1125(a), 1125(c). On the Fifth and Sixth Claims for Relief for
15
     California Statutory Trademark Infringement and California Statutory Trademark
16
     Dilution, In-N-Out must show, respectively, that the named defendants are using the
17
     TRIPLE DOUBLE marks, see Cal. Bus. & Prof. Code § 14250, or are “person[s]”
18
     who are making “commercial use” of the TRIPLE DOUBLE marks, see Cal. Bus. &
19
     Prof. Code § 14247. On the Seventh Claim for Relief for Unfair Competition Under
20
     the California Common Law, In-N-Out must show that the named defendants are
21
     using the TRIPLE DOUBLE marks. On the Eighth Claim for Relief for Statutory
22
     Unfair Competition, In-N-Out must show that the named defendants are “persons”
23
     who have used the TRIPLE DOUBLE marks. See Cal. Bus. & Prof. Code § 17203.
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                                                  -12-
                                      IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
                                                                        FOR PARTIAL SUMMARY JUDGMENT
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1             A.    Because Smashburger IP Owns the TRIPLE DOUBLE Marks and
                    the “Double the Beef” Slogans and Advertising Materials, It is
2                   Responsible for the Trademark Infringement and the False
3                   Advertising.
              As an initial matter, the undisputed facts demonstrate that Smashburger IP owns
4
     the TRIPLE DOUBLE Marks and the “Double the Beef” slogans and advertising
5
     materials.8 SS 1-8, 18-20. The fact that Smashburger IP owns such marks, slogans,
6
     and advertising materials should be sufficient as a matter of law to demonstrate that it
7
     is responsible for the use of such marks, slogans, and advertising materials to sell
8
     burgers at Smashburger restaurants.
9
              B.    Because of Smashburger IP’s Involvement in Creating the TRIPLE
10                  DOUBLE Marks and the “Double the Beef” Slogans and Advertising
11                  Materials, They are Responsible for the Trademark Infringement
                    and the False Advertising.
12            Even if Smashburger IP’s ownership of the TRIPLE DOUBLE Marks and the
13   “Double the Beef” slogans and advertising materials was not by itself sufficient to
14   establish its responsibility – and it is – Smashburger IP would still be responsible by
15   reason of its involvement in the process whereby Smashburger entities created such
16   marks, slogans, and advertising materials. While the documents produced by
17   Defendants in this lawsuit almost always refer to “Smashburger” without
18   differentiating between different entities, they contain nothing to suggest that
19   Smashburger IP is not the Smashburger entity that created the TRIPLE DOUBLE
20   Marks and the “Double the Beef” slogans and advertising materials.
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26   8
      Because Smashburger IP holds trademark registrations for at least two slogans
27   (SMASH.SIZZLE.SAVOR. and SMASHED FRESH. SERVED DELICIOUS.) that
     are used not as the name of products but advertise products, SS 2, it is apparent that
28   Smashburger IP is also the owner of the “Double the Beef” slogans, which are used
     not as the name of the Triple Double burgers but to advertise such burgers.
                                              -13-
                                      IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
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3             In Western Sugar Co-op. v. Archer-Daniels-Midland Co., No. CV 11–3473
4    CBM (MANx), 2012 WL 3101659, *7-8 (C.D. Cal. July 31, 2012), the court
5    recognized that there is “a theory of joint-tortfeasor liability under the Lanham Act”
6    that is available “when the defendant has knowingly participated in the creation,
7    development, and propagation of the false advertising campaign.” Id. (citing In re
8    Century 21-RE/MAX Real Estate Advertising Claims Litig., 882 F. Supp. 915, 925
9    (C.D. Cal. 1994)). See Yeti Enters. Inc. v. Tang, 2017 WL 3478484, *16 (D. Ore.
10   Aug. 14, 2017) (same). The Western Sugar Co-op. court found that the plaintiffs had
11   stated a claim for false advertising under the Lanham Act against not only the trade
12   association of corn refiners that had engaged in a campaign to rebrand high fructose
13   corn syrup but also against the member companies that were alleged to have crafted
14   that campaign in conjunction with the trade association. See Western Sugar Co-op.,
15   2012 WL 3101659 at *1, 7-8. Thus, Smashburger IP is responsible as a joint
16   tortfeasor for use of the TRIPLE DOUBLE Marks and the “Double the Beef” slogans
17   and advertising materials by reason of its involvement in the creation of those marks,
18   slogans, and advertising materials, regardless of whether it used the marks, slogans,
19   and advertising materials itself.
20            In a related context, the courts have held that advertising agencies are proper
21   defendants to false advertising claims under the Lanham Act. See, e.g., Nestle Purina
22   PetCare Co. v. Blue Buffalo Co. Ltd., No. 4:14 CV 859 RWS, 2015 WL 1782661, at
23   *5 (E.D. Mo. Apr. 20, 2015) (denying motion to dismiss false advertising claim
24   against advertising agency); In re Century 21-RE/MAX Real Estate Advertising
25   Claims Litig., 882 F. Supp. at 925 (an advertising agency may be liable as a joint
26   tortfeasor for false advertising it if “has knowingly participated in the creation,
27   development and propagation of the … false advertising campaign”) (quotation
28   omitted); Gillette Co. v. Wilkinson Sword, Inc., 795 F. Supp. 662, 663 (S.D.N.Y.
                                              -14-
                                         IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
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1    1992) (“advertising agencies are liable under [Section 1125(a)] at least where they
2    knowingly participate in the false advertising”), vacated on other grounds, No. 89
3    Civ. 3586(KMW), 1992 WL 12000396, at *1 (S.D.N.Y. Oct. 28, 1992). Because
4    Smashburger IP “knowingly participated in the creation, development and
5    propagation” of the TRIPLE DOUBLE Marks and the “Double the Beef” slogans and
6    advertising materials, In re Century 21-RE/MAX Real Estate Advertising Claims
7    Litig., 882 F. Supp. at 925, it is responsible for the use of such marks, slogans, and
8    materials to sell burgers at Smashburger restaurants.
9
              C.   Because Smashburger IP and Smashburger Franchising Use the
10                 TRIPLE DOUBLE Marks and the “Double the Beef” Slogans and
                   Advertising Materials, They are Responsible for the Trademark
11                 Infringement and the False Advertising.
12            Smashburger’s website – which displays TRIPLE DOUBLE Marks and
13   “Double the Beef” slogans – includes a copyright notice identifying Smashburger IP
14   as the owner of the content. SS 14-15.
15
16                                                                            SS 19. The facts that
17   Smashburger IP uses the TRIPLE DOUBLE Marks and the “Double the Beef”
18   slogans on the Smashburger website
19
20                       are sufficient as a matter of law to demonstrate that Smashburger IP is
21   responsible for the use of such marks, slogans, and advertising materials to sell
22   burgers at Smashburger restaurants.
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27                                                                                    SS 16. Smashburger
28   Franchising’s involvement – direct or delegated – over the advertisements for
                                              -15-
                                            IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
                                                                              FOR PARTIAL SUMMARY JUDGMENT
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1    franchise restaurants is sufficient as a matter of law to demonstrate that it is
2    responsible for the use of the marks, slogans, and advertising materials at issue.
3    Furthermore, even if Smashburger Franchising delegated its right to direct the
4    marketing programs, it would still be liable as a joint tortfeasor with any Smashburger
5    entity to which such right might have been delegated, based upon its role in
6    propagating use of the marks, slogans, and advertising materials. See Western Sugar
7    Co-op., 2012 WL 3101659 at *7-8; In re Century 21-RE/MAX Real Estate Advertising
8    Claims Litig., 882 F. Supp. at 925.
9             D.    Because Smashburger IP and Smashburger Franchising Authorize
                    and Control the Use by Smashburger Company and Franchise
10                  Restaurants of the TRIPLE DOUBLE Marks and the “Double the
11                  Beef” Slogans and Advertising Materials, They are Responsible for
                    the Trademark Infringement and the False Advertising.
12            Both Smashburger IP and Smashburger Franchising are responsible for the use
13   of the TRIPLE DOUBLE Marks and the “Double the Beef” slogans and advertising
14   materials because they authorized the use of such marks, slogans, and advertising
15   materials. SS 17-25. As discussed above, the “knowing participation” of
16   Smashburger IP and Smashburger Franchising in the “propagation” of the use of the
17   TRIPLE DOUBLE Marks and the “Double the Beef” slogans and advertising
18   materials supports holding them responsible for such use. Western Sugar Co-op.,
19   2012 WL 3101659 at *7-8; In re Century 21-RE/MAX Real Estate Advertising Claims
20   Litig., 882 F. Supp. at 925.
21
22
23                                                                                         SS 18, 21.
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26                                                                                         SS 18, 21.
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                                      IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
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1
2
3                                 SS 29.
4
5                                                                                         SS 26-28.
6    Accordingly, Smashburger IP is responsible for propagating the TRIPLE DOUBLE
7    Marks and the “Double the Beef” slogans and advertising materials for use at all
8    Smashburger restaurants, whether company-operated or franchisee-operated.
9
10
11                            SS 19, 22-23.
12
13
14                                                                         SS 22, 26-30.
15   Accordingly, Smashburger Franchising is responsible for propagating the TRIPLE
16   DOUBLE Marks and the “Double the Beef” slogans and advertising materials for use
17   at all Smashburger franchise restaurants.
18            In Inwood Labs., Inc. v. Ives Labs., Inc., 456 U.S. 844, 854 (1982), the Supreme
19   Court recognized that “if a manufacturer or distributor intentionally induces
20   another to infringe a trademark, or if it continues to supply its product to one whom
21   it knows or has reason to know is engaging in trademark infringement, the
22   manufacturer or distributor is contributorially [sic] responsible for any harm done
23   as a result of the deceit.” Id. (emphasis added). Here, Smashburger IP and
24   Smashburger Franchising not only intentionally induced Smashburger company and
25   franchise restaurants to use the TRIPLE DOUBLE Marks, the “Double the Beef”
26   slogans, and the advertising materials, but they propagated such marks, slogans, and
27   advertising materials by authorizing such use. SS 9-28.
28
                                                   -17-
                                       IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
                                                                         FOR PARTIAL SUMMARY JUDGMENT
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1                                           CONCLUSION
2             For the reasons set forth herein, In-N-Out respectfully asks the Court to grant its
3    motion for partial summary judgment as to the responsibility of Smashburger IP and
4    Smashburger Franchising for use of the TRIPLE DOUBLE marks and the “Double
5    the Beef” slogans and advertising materials.
6    Dated: March 4, 2019                   Respectfully submitted,
7                                           CAROLYN S. TOTO
                                            JEFFREY D. WEXLER
8                                           SARKIS A. KHACHATRYAN
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10                                          By:      /s/ Carolyn S. Toto
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                                        IN-N-OUT BURGERS’ MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION
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